









MEMORANDUM OPINION



No. 04-07-00632-CR



Richard JUAREZ,


Appellant



v.



The STATE of Texas,


Appellee



From the 226th Judicial District Court, Bexar County, Texas


Trial Court No. 2005-CR-9619B


Honorable Sid L. Harle, Judge Presiding



PER CURIAM


Sitting: 	Karen Angelini, Justice

	Sandee Bryan Marion, Justice

	Phylis J. Speedlin, Justice


Delivered and Filed:	November 21, 2007


DISMISSED

	Pursuant to a plea-bargain agreement, Richard Juarez pled nolo contendere to possession of
a controlled substance (repeater) and was sentenced to ten years imprisonment in accordance with
the terms of his plea-bargain agreement. The trial court has signed a certification of defendant's right
to appeal stating that this "is a plea-bargain case, and the defendant has NO right of appeal." See
Tex. R. App. P. 25.2(a)(2). After Juarez filed a notice of appeal, the trial court clerk sent copies of
the certification and notice of appeal to this court. See id. 25.2(e). The clerk's record, which includes
the trial court's rule 25.2(a)(2) certification, has been filed. See id. 25.2(d). 

	"In a plea bargain case ... a defendant may appeal only: (A) those matters that were raised by
written motion filed and ruled on before trial, or (B) after getting the trial court's permission to
appeal." Tex. R. App. P. 25.2(a)(2). The clerk's record, which contains a written plea bargain,
establishes the punishment assessed by the court does not exceed the punishment recommended by
the prosecutor and agreed to by the defendant. See id. 25.2(a)(2). The clerk's record does not include
a written motion filed and ruled upon before trial; nor does it indicate that the trial court gave its
permission to appeal. The trial court's certification, therefore, appears to accurately reflect that this
is a plea-bargain case and that Juarez does not have a right to appeal. We must dismiss an appeal "if
a certification that shows the defendant has the right of appeal has not been made part of the record." 
Id. 25.2(d).

	We, therefore, warned Juarez that this appeal would be dismissed pursuant to Texas Rule of
Appellate Procedure 25.2(d), unless an amended trial court certification showing that he had the right
to appeal was made part of the appellate record. See Tex. R. App. P. 25.2(d), 37.1; Daniels v. State,
110 S.W.3d 174 (Tex. App.--San Antonio 2003, order). No such amended trial court certification
has been filed. This appeal is, therefore, dismissed pursuant to rule 25.2(d).   

		

								PER CURIAM

DO NOT PUBLISH





